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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION


 UNITED STATES OF AMERICA     §
                              §
                              §                       CRIMINAL ACTION NO. 6:01cr39
 v.                           §
                              §
 CHRISTOPHER LAVONCE SPRULOCK §


                                              ORDER

        The above entitled and numbered criminal action was referred to United States Magistrate

 Judge Harry W. McKee pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate Judge

 which contains his proposed findings of fact and recommendations for the disposition of such action,

 has been presented for consideration. The parties have made no objections to the Report and

 Recommendation.

        The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as the

 findings and conclusions of this Court.

         So ORDERED and SIGNED this 28th day of October, 2005.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE
